      Case 1:97-cr-01105-LAP Document 270 Filed 10/20/20 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

          -against-
                                            No. 97-CR-1105 (LAP)
MICHAEL MUNGIN,
                                                    ORDER
                  Defendant.


LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

     Defendant Michael Mungin submits an “Omnibus Motion” [dkt.

no. 239] seeking (1) reconsideration pursuant to Fed. R. Civ. P.

59(e); (2) relief from judgment pursuant to Fed. R. Civ. P.

60(d); or (3) modification of his sentence under 18 U.S.C.

§ 3582.    Related to that motion, Mr. Mungin also moves for

appointment of counsel [dkt. no. 241], a status conference [dkt.

no. 246], and a hearing [dkt. no. 269].

     The Clerk of Court shall electronically notify the Criminal

Division of the U.S. Attorney’s Office for the Southern District

of New York that this order has been issued.

     Within thirty days of the date of this order, the U.S.

Attorney’s Office shall file an answer or other pleadings in

response to Mr. Mungin’s motions.      Mr. Mungin shall have thirty

days from the date on which he is served with the answer to file

a response.    Absent further order, the motions will be

considered fully submitted as of that date.
         Case 1:97-cr-01105-LAP Document 270 Filed 10/20/20 Page 2 of 2



     The Clerk of the Court shall mail a copy of this order to

Mr. Mungin.

SO ORDERED.

Dated:     October 20, 2020
           New York, New York




                                           ___________________________
                                           LORETTA A. PRESKA, U.S.D.J.




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